           Case 1:19-cr-00254-ALC Document 67 Filed 10/13/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       10/13/2020
------------------------------------------------------- X
United States of America,
                                                                 ORDER
                                                                 19-CR-254 (ALC)


                 -against-


Reginald Fowler,


                           Defendant(s)
---------------------------------------------------------X

ANDREW L. CARTER, JR., United States District Judge:

        The status conference scheduled for October 15, 2020 at 2:00 p.m. is converted to a

telephone status conference. The parties should contact the Court at 1-888-363-4749 on the date

and time specified above and once prompted, should dial access code 3768660.

        SO ORDERED.

Dated: New York, New York
       October 13, 2020

                                                     ___________________________________
                                                     ANDREW L. CARTER, JR.
                                                     UNITED STATES DISTRICT JUDGE
